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                                                                       Jeremy V. Richards (CA Bar No. 102300)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
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                                                                   7   Henry C. Kevane (CA Bar No. 125757)
                                                                       Pachulski Stang Ziehl & Jones LLP
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                                                                       San Francisco, CA 94111
                                                                   9   Telephone: 415.263.7000
                                                                       Facsimile: 415.263.7010
                                                                  10   Email: hkevane@pszjlaw.com

                                                                  11   Proposed Attorneys for Home Loan Center, Inc.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                  14
                                                                                                                SAN JOSE DIVISION
                                                                  15
                                                                       In re:                                              Case No.: 19-51455 (MEH)
                                                                  16
                                                                       HOME LOAN CENTER, INC.,                             Chapter 11
                                                                  17
                                                                                                      Debtor.              NOTICE OF CONTINUED HEARINGS
                                                                  18
                                                                                                                           [Relates to Docket 55]
                                                                  19

                                                                  20                                                      Prior Hearing Date:
                                                                                                                          Date:       August 29, 2019
                                                                  21                                                      Time:       10:30 a.m. (Pacific Time)
                                                                                                                          Place:      Courtroom 3020
                                                                  22                                                                  280 South First Street
                                                                                                                                      San Jose, CA 95113
                                                                  23                                                      Judge:      Hon. M. Elaine Hammond
                                                                  24                                                       Continued Hearing Date:
                                                                                                                           Date:      September 24, 2019
                                                                  25
                                                                                                                           Time:      10:00 a.m. (Pacific Time)
                                                                  26                                                       Place:     Courtroom 3020
                                                                                                                                      280 South First Street
                                                                  27                                                                  San Jose, CA 95113
                                                                                                                           Judge:     Hon. M. Elaine Hammond
                                                                  28


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                                                                   Case: 19-51455         Doc# 59    Filed: 08/16/19   Entered: 08/16/19 17:18:47     Page 1 of 6
                                                                   1           PLEASE TAKE NOTICE that, pursuant to the Stipulation Regarding Continuance of

                                                                   2   August 29, 2019 Hearings and Related Discovery (the “Stipulation”) [Docket No. 55] approved by

                                                                   3   the Court by order entered on August 15, 2019 [Docket No. 58], the Debtor’s Motion for Relief from

                                                                   4   the Automatic Stay Under 11 U.S.C. § 362 to Prosecute Appeal of Adverse Judgment [Docket No.

                                                                   5   17] (the “Relief from Stay Motion”); Motion for Order Authorizing Debtor to Maintain Existing

                                                                   6   Bank Accounts [Docket No. 26] (the “Bank Account Motion”); ResCap Liquidating Trust’s Motion

                                                                   7   to Convert Case to Chapter 7 [Docket No. 41] (the “Conversion Motion”); and Debtor’s Motion for

                                                                   8   Order Approving Procedures Regarding Assignment/Foreclosure Actions [Docket No. 47] (the

                                                                   9   “Assignment/Foreclosure Procedures Motion” and, together with the Relief from Stay Motion, Bank

                                                                  10   Account Motion and Conversion Motion, the “Motions”), previously set for hearing on August 29,

                                                                  11   2019, at 10:30 a.m., will now take place on September 24, 2019, at 10:00 a.m., in Courtroom 3020
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   at the United States Bankruptcy Court, 280 South First Street, San Jose, California 95113, before the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Honorable M. Elaine Hammond.
                                           ATTORNEYS AT LAW




                                                                  14           PLEASE TAKE FURTHER NOTICE that the Debtor’s Application to Employ Williams &

                                                                  15   Connolly, LLP as Special Litigation Counsel Effective as of the Petition Date, Pursuant to Section

                                                                  16   327(e) of the Bankruptcy Code [Docket No. 33] (the “Williams & Connolly Application”), the

                                                                  17   Motion for Entry of Order Pursuant to Bankruptcy Code Section 363 and 105 Approving the

                                                                  18   Engagement Contract Between Arch & Beam Global, LLC and the Debtor [Docket No. 37] (the

                                                                  19   “Arch & Beam Application”), and Debtor’s Application to Employ Pachulski Stang Ziehl & Jones

                                                                  20   LLP as General Bankruptcy Counsel for the Debtor [Docket No. 43] (the “PSZ&J Application” and,

                                                                  21   together with the Williams & Connolly Application and the Arch & Beam Application, the

                                                                  22   “Applications”), also will be heard at September 24, 2019, at 10:00 a.m., should timely objections

                                                                  23   be filed.

                                                                  24           PLEASE TAKE FURTHER NOTICE that, pursuant to the Stipulation, (i) any pleadings

                                                                  25   filed in opposition to the Motions and Applications must be filed and served on proposed counsel to

                                                                  26   the Debtor no later than August 30, 2019; and (ii) replies to any such oppositions must be filed and

                                                                  27   served by September 17, 2019.

                                                                  28           .

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                                                                   1   Dated: August 16, 2019                     PACHULSKI STANG ZIEHL & JONES LLP

                                                                   2
                                                                                                                  By: /s/ Malhar S. Pagay
                                                                   3                                                    Jeffrey N. Pomerantz (CA Bar No. 143717)
                                                                                                                        Jeremy V. Richards (CA Bar No. 102300)
                                                                   4                                                    Malhar S. Pagay (CA Bar No. 189289)
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                                                                   9                                                       Henry C. Kevane (CA Bar No. 125757)
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                                                                  12                                                       Email: hkevane@pszjlaw.com
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                   Proposed Attorneys for Home Loan Center, Inc.
                                           ATTORNEYS AT LAW




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                                                                   1                                                PROOF OF SERVICE

                                                                   2   STATE OF CALIFORNIA                          )
                                                                                                                    )
                                                                   3   CITY OF LOS ANGELES                          )

                                                                   4            I, Gini L. Downing, am employed in the city and county of Los Angeles, State of California.

                                                                   5   I am over the age of 18 and not a party to the within action; my business address is 10100 Santa

                                                                   6   Monica Blvd., 13th Floor, Los Angeles, California 90067 .

                                                                   7            On August 16, 2019, I caused to be served the following document(s) in the manner stated

                                                                   8   below:
                                                                                                        NOTICE OF CONTINUED HEARINGS
                                                                   9
                                                                                       (BY OVERNIGHT DELIVERY) By sending by FedEx and/or USPS Express Mail to
                                                                  10                   addresses(s) as indicated below. Listing the judge here constitutes a declaration that personal
                                                                                       delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
                                                                  11                   document is filed.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                  United States Bankruptcy Court
                                                                                       Northern District of CA, San Jose Division
                                        LOS ANGELES, CALIFORNIA




                                                                  13                   Attn: Judge M. Elaine Hammond
                                           ATTORNEYS AT LAW




                                                                                       c/o Anna Rosales, Courtroom Deputy
                                                                  14                   U.S. Courthouse, Room 3035, 280 South First Street
                                                                                       San Jose, CA 95113-3099
                                                                  15
                                                                                       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
                                                                  16                   to controlling General Orders and LBR, the foregoing document was served by the court via NEF
                                                                                      and hyperlink to the document. On August 16, 2019 I checked the CM/ECF docket for this
                                                                  17                   bankruptcy case or adversary proceeding and determined that the following persons are on the
                                                                                       Electronic Mail Notice List to receive NEF transmission at the email addresses stated below
                                                                  18
                                                                                       (BY MAIL) I am readily familiar with the firm's practice of collection and processing
                                                                  19                   correspondence for mailing. Under that practice it would be deposited with the U.S. Postal

                                                                  20                  Service on that same day with postage thereon fully prepaid at Los Angeles, California, in the
                                                                                       ordinary course of business. I am aware that on motion of the party served, service is presumed
                                                                                       invalid if postal cancellation date or postage meter date is more than one day after date of deposit
                                                                  21                   for mailing in affidavit.

                                                                  22
                                                                                      (BY EMAIL) I caused to be served the above-described document by email to the parties
                                                                                       indicated on the attached service list at the indicated email address.
                                                                  23

                                                                  24            I declare under penalty of perjury, under the laws of the State of California and the United

                                                                  25   States of America that the foregoing is true and correct.

                                                                  26            Executed on August 16, 2019 at Los Angeles, California.

                                                                  27
                                                                                                                                                  /s/ Gini L. Downing
                                                                  28                                                                                Gini L. Downing

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          In re: Home Loan Center, Inc.
          USBC ND Cal. No. 5:19-51455 (MEH)

          TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


                   Peter Evan Calamari petercalamari@quinnemanuel.com,
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                   Ori Katz okatz@sheppardmullin.com, LSegura@sheppardmullin.com
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                    nafeezasubhan@quinnemanuel.com
                   Jennifer L. Nassiri jennifernassiri@quinnemanuel.com
                   Office of the U.S. Trustee / SJ USTPRegion17.SJ.ECF@usdoj.gov
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                   Jeffrey Nathan Pomerantz jpomerantz@pszjlaw.com, bdassa@pszjlaw.com
                   Marta Villacorta marta.villacorta@usdoj.gov


          TO BE SERVED BY U.S. FIRST CLASS MAIL

Debtor:                                          Office of the U.S. Trustee
Home Loan Center, Inc.                           U.S. Federal Building
7 West 41st Street Ave., #523                    280 South 1st Street, #268
San Mateo, CA 94403                              San Jose, CA 95113-3004


                                            20 LARGEST UNSECURED CREDITORS

ResCap Liquidating Trust (as successor to      Lehman Brothers Holdings Inc.               Lehman Brothers Holdings Inc.
Residential Funding Company, LLC)              Wollmuth Maher & Deutsch LLP                Fox Rothschild LLP
                                                                                           Michael A. Rollin, Esq.
Kathleen Sullivan, Esq.                        William Maher, Esq.
                                                                                           101 Park Avenue, 17th Floor
Quinn Emanuel Urquhart & Sullivan, LLP         500 5th Avenue                              New York, NY 10178
51 Madison Avenue, 22nd Floor                  New York, NY 10110
New York, NY 10010

JP Morgan Chase & Co.                          Andrew J. Brown, Esq.                       Becky Hancock, Repurchase Coordinator
Annette C. Rizzi, Associate General Counsel    Christy Rogers Ellis and Jimmy Hoyt Ellis   Citibank, N.A.
Four New York Plaza, 19th Floor                c/o William J. Brown & Associates, PLLC     Citi Mortgage, Inc.
New York, NY 10004-2413                        23 N. Ocoee St.                             1000 Technology Dr.
                                               P.O. Box 1001                               O’Fallon, MO 63368
                                               Cleveland, TN 37364

Credit Suisse                                  Encore Credit Corporation                   Federal Home Loan Mortgage Corporation
Attention: Mortgage Banking Department         Attention: Mortgage Banking Department      Attention: Mortgage Banking Department
11 Madison Ave.                                1833 Alton Pkwy.                            8200 Jones Branch Dr.
New York, NY 10010                             Irvine, CA 92606                            McLean, VA 22102-3110

GMAC Bank                                      National City Mortgage Co.                  US Bank
Attention: Mortgage Banking Department         Attention: Mortgage Banking Department      Attention: Mortgage Banking Dept.
P.O. Box 380901                                P.O. Box 1820                               P.O. Box 790408
Bloomington, MN 55438                          Dayton, OH 45401-1820                       St. Louis, MO 63179-0408




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Deutsche Bank National Trust Co.           One West Bank, a Division of CIT Bank, N.A.
Attention: Mortgage Banking Department     Successor to IndyMac Federal Bank, FSB
1961 East Saint Andrew Place               Attn: Mortgage Banking Dept.
Santa Ana, CA 92705
                                           75 North Fair Oaks Avenue
                                           Pasadena, CA 91103



                                              Requests for Special Notice

Attorneys for ResCap Liquidating Trust       Attorneys for ResCap Liquidating Trust      Attorneys for Creditor ResCap
Quinn Emanuel UrQuhart & Sullivan, LLP       Quinn Emanuel Urquhart & Sullivan, LLP      Liquidating Trust
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Los Angeles, CA 90017-2543                   711 Louisiana Street, Suite 500                   Jennifer C. Hayes
                                             Houston, TX 77002                           456 Montgomery Street, 20th Floor
                                                                                         San Francisco, CA 94104

Matthew English
Arch & Beam Global, LLC
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Walnut Creek, CA 94597




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